           Case 1:18-cv-05083-WMR-CCB Document 1 Filed 11/02/18 Page 1 of 13


                                                       FILED IN C~~~K 1 ~ Qfr!G~
                    IN THE UNITED STATES DISTRICT COURT u.s.o.o. -AliilAl~
                   FOR THE NORTHERN DISTRICT OF GEO~:Lllov 02 2011
                                          DIVISION
                             -------                                     ~;MES N. HAITff,;;J1 &l@r~

     v lnqhae.- <1et'ck) rcn:;                                              PO 1'•~11
    (Printyour full name)
                    Plaintiffpro se,                    CIVIL ACTION FILE NO.


          v.                                              1:18-CV-5083
                                                           (to be assigned by Clerk)




    (Print full name of each defendant; an
    employer is usually the defendant)
                    Defendant(s).


         PRO SE EMPLOYMENT DISCRIMINATION COMPLAINT FORM

                                 Claims and Jurisdiction

    1.     This employment discrimination lawsuit is brought under (check only those
           that apply):

               /       Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et
                       ~ for employment discrimination on the basis of race, color,
                       religion, sex, or national origin, or retaliation for exercising rights
                       under this statute.

                              NOTE: To sue under Title VII, you generally must have
                              received a notice of right-to-sue letter from the Equal
                              Employment Opportunity Commission ("EEOC").

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         Case 1:18-cv-05083-WMR-CCB Document 1 Filed 11/02/18 Page 2 of 13



                      Age Discrimination in Employment Act of 1967, 29 U.S.C. §§
                      621 et seq., for employment discrimination against persons age40
                      and over, or retaliation for exercising rights under this statute.

                            NOTE: To sue under the Age Discrimination in
                            Employment Act, you generally must first file a charge of
                            discrimination with the EEOC.


                      Americans WithDisabilitiesActof1990, 42 U.S.C. §§ 12101 et
                      ~ for employment discrimination on the basis of disability, or
                      retaliation for exercising rights under this statute.

                            NOTE: TosueundertheAmericans With Disabilities Act,
                            you generally must have received a notice of right-to-sue
                            letter :from the EEOC.


                      Other (describe)




    2.   This Court has subject matter jwisdiction over this case under the above-listed
         statutes and under 28 U.S.C. §§ 1331and1343.




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                                            Parties

    3.   Plaintiff.   Print your full name and mailing address below:

         Name

         Address         ISLl-3 t-J. M(lrelos     s-/:,


    4.   Defendant(s).        Print below the name and address of each defendant listed
                              on page 1 of this fonn:

         Name            }v1iz,q/fitt po/ylnet5    &.   wnpost'fe3
         Address                        u
                          'R.!Jc.ktntJ.~ ~A 3015:3

         Name
         Address



         Name
         Address



                                    Location and Time

    5.   If the alleged discriminatory conduct occurred at a location different from the
         address provided for defendant(s), state where that discrimination occurred:




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6.   When did the alleged discrimination occur? (State date or time period)




                         AdministradveProcedures

7.   Did you file a charge of discrimination against defendant(s) with the EEOC or
     any other federal agency?        :v::'  Yes                No

           If you checked "Yes," attach a copy of the charge to this complaint.


8.   Haveyu received a Notice of Right-to-Sue letter from the EEOC?

     _:jf_ Yes                 No

           If you checked "Yes,,, attach a cow of that letter to this complaint and
           state the date on which you received that letter:



9.   If you are suing for age discrimiaation, check one of the following:

                 60 days or more have elapsed since I filed my charge of age
                 discrimination with the EEOC

                 Less than 60 days have passed since I filed my charge of age
                 discrimination with the EEOC




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    IO.   If you were employed by an agency of the State of Georgia or unsuccessfully

-         sought employment with a State agency, did you file a complaint against
          defendant(s) with the Georgia Commission on Equal Opportunity?

          - - Yes            - - No               X     Not applicable, because I was
                                                not an employee of, or applicant with,
                                                a State agency.

                If you checked "Yes," attach a copy of the complaint you filed with the
                Georgia Commission on Equal Opportunity and describe below what
                happened with it (i.e., the complaint was dismissed, there was a hearing
                before a special master, or there was an appeal to Superior Court):

             NIA




    11.   If you were employed by a Federal agency or unsuccessfully sought
          employment with a Federal agency, did you complete the administrative
          process established by that agency for persons alleging denial of equal
          employment opportunity?

          - - Yes           - - No              A_ Not applicable, because I was
                                                not an employee of, or applicant with,
                                                a Federal agency.

               If you checked "Yes," describe below what happened in that
               administrative process:
             NIA



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                                  Natare of tbe Case

12.   The conduct complained about in this lawsuit involves (check only those that
      apply):

                  failure to hire me
                  failure to promote me
                  demotion
                  reduction in my wages
        1L"       working under tenns and conditions of employment that differed
                  from similarly situated employees
        v         harassment
        V         retaliation
        V         termination of my employment
        v         failure to accommodate my disability
                  other (please specify) _ _ _ _ _ _ _ _ _ _ _ __



13.   I believe that I was discriminated against because of (check only those that
      apply):

       v          my race or color, which is -..A.....s;..;..ola=t1c....__ _ _ _ _ _ _ __
       if         my religion, which is _ ___::C..:.ih:.ur:..LJls.u.tulawnui~g.V:..___ _ _ _ _ __
                  my sex (gender), which is                 _ _ male                          female
                  my national origin, which is _ _ _ _ _ _ _ _ _ _ __
       V"         myage (mydateofbirthis 01/~l!/l'!S-d' (60)                                        )
       V:         my disability or perceived disability, which is:
                     o/2.)abela
                  my opposition to a practice ofmy employer that I believe violated
                  the federal anti-discrimination laws or my participation in an
                  EEOC investigation

                  other(pleasespecify) _ _ _ _ _ _ _ _ _ _ _ _ __




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              Case 1:18-cv-05083-WMR-CCB Document 1 Filed 11/02/18 Page 7 of 13



 14.         Write below, as clearly as poaible, the essential facts of your claim(s).
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            Write below, as clearly as possible, the essential fi1cts of your claim(s).
          14.
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                14.   Write below, as clearly as posmble, the essential facts of your claim(s).
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15.   Plaintiff                  still works for defendant(s)
                      x          no longer works for defendant(s) or was not hired


16.   If this is a disability-related claim, did defendant( s) deny a request for
      reasonable accommodation?         X Yes                   No


             If you checked "Yes," please explain:-----~-----




17.   If your case goes to trial, it will be heard by a judge unless you elect a jury
      trial. Do you request a jury trial?
                                               •
                                                ,X Yes            No


                                 Request for Relief

As relief from the allegations of discrimination and/or retaliation stated above,
plaintiff prays that the Court grant the following relief (check any that apply):

       V           Defendant(s) be directed to     ?ri1ni11d cfwye-5
                          ';/rzY MY,       Lovell yPuf!!j
        Y          Money damages (list amounts) _ _ _ _ _ _ _ _ __


                   Costs and fees involved in litigating this case


        ~          Such other relief as my be appropriate




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           PLEASE READ BEFORE SIGNING mIS COMPLAINT

Before you sign this Complaint and file it with the Clerk, please review Rule 11 of
the Federal Rules of Civil Procedure for a full description of your obligation of good
faith in filing this Complaint and any motion or pleading in this Court, as well as the
sanctions that may be imposed by the Court when a litigant (whether plaintiff or
defendant) violates the provisions of Rule 11. These sanctions may include an order
directing you to pay part or all of the reasonable attorney's fees and other expenses
incurred by the defendant( s ). Finally, ifthe defendant(s) is the prevailing party in this
lawsui~ costs (other than attorney's fees) may be imposed upon you under Federal
Rule of Civil Procedure 54(d)(l).


             Signed, this   is-t..   day of     .Alove mbeY                ,201   g




                                         (Printed n'ifue of plaintiffpro   se
                                              15 4 3 W. More/us s-t.
                                         (street address)


                                         (City, State, and zip code)

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